   Case 4:22-cv-00908 Document 50-3 Filed on 01/24/24 in TXSD Page 1 of 36
                                                                   Exhibit C
                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

      COUVILLION GROUP, LLC.,
                          Plaintiff,

         v.
      WHITE MARLIN OPERATING
      COMPANY LLC; AGUA                  Civil Action No. 4:22:cv-00908
      TRANQUILLO MIDSTREAM
      LLC; TALCO PETROLEUM
      LLC; TORRENT OIL, LLC; &
      NIGEL SOLIDA,

                          Defendants.


      WHITE MARLIN’S OBJECTIONS AND ANSWERS TO PLAINTIFF
      COUVILLION GROUP, LLC’S FIRST SET OF INTERROGATORIES

TO:    Couvillion Group, LLC, by and through its attorneys of record, Patrick
       McShante, Danica Denny, Kathleen Rice, and Daniel Schwank, 1100 Poydras
       Street, Suite 3700, New Orleans LA 70163.

              Pursuant to the Federal Rules of Civil Procedure, Defendant White

Marlin Operating Company, LLC serves these objections and answers to Plaintiff’s

First Set of Interrogatories.
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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                       By: /s/ Joseph W. Golinkin II
                                          Michael Cancienne
                                          State Bar No. 24055256
                                          Joseph W. (“Jeb”) Golinkin II
                                          State Bar No. 24087596
                                          1980 Post Oak Blvd., Ste. 2300
                                          Houston, Texas 77056
                                          713.955.4028
                                          713.955.9644 Facsimile
                                          mcancienne@jlcfirm.com
                                          jgolinkin@jlcfirm.com

                                      ATTORNEYS FOR DEFENDANTS


                          CERTIFICATE OF SERVICE

             I certify that on the 20th day of November, 2023, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                              /s/ Jeb Golinkin
                                              Joseph W. Golinkin II




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                              INTERROGATORIES

INTERROGATORY NO. 1:

Please provide the following information for White Marlin, Agua, Talco, and Torrent
Oil, LLC (“Torrent”):

      (1) The identity of each and every affiliate, subsidiary, and parent entity
          between January 1, 2019 and the present day;
      (2) The identity of each and every director, officer, and member with a financial
          interest between January 1, 2019 and the present day;
      (3) Each state or jurisdiction of incorporation and the date of incorporation in
          each state or jurisdiction;
      (4) The net worth of each; and
      (5) The address for each and every office.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 2:

Please identify by name and title each and every person employed by White Marlin,
Agua, Talco, and Torrent during the past five years and the dates of such
employment. Please also state which entity employed each person.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 3:

Please identify the accounting firm(s)/CPA that prepared financial documents, such
as tax returns or balance sheets, for White Marlin, Agua, Talco, and Torrent during
the past five years.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. The identity of
the accounting firms/CPAs that prepare Defendants’ financial statements are utterly




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irrelevant to the question of whether Couvillion performed the services for which it
seeks to be compensated.

INTERROGATORY NO. 4:

Please identify each and every bank account maintained by White Marlin, Agua,
Talco, and Torrent for the past five years, including the name of the financial
institution where the account is maintained and each account number.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);
Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007). Plaintiff alleges that Solida committed fraud by “knowingly
providing false information in order to induce Couvillion to agree to perform the work
at issue while at the same time knowing that neither Solida nor any of these
organizations had the resources to timely pay for the work.” (ECF 24 at Paragraph
XL.)

INTERROGATORY NO. 5:

Please identify each and every instance when funds were transferred between a bank
account maintained by the following entities during the past five years: White Marlin,
Agua, Talco, Torrent, or Nigel Solida. Please also describe each and every document,
ledger, or itemized account statement which evidences each payment.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);




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Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007).

INTERROGATORY NO. 6:

Please identify each and every payment made or received by White Marlin, Agua,
Talco, Torrent, or Nigel Solida arising or related to the removal of the A11 pipeline,
and please describe each and every document, ledger, or itemized account statement
which evidences each payment.

ANSWER: Defendant objects to this Interrogatory because it fails to describe the
information is seeks with reasonable particularity. Defendant objects to this
Interrogatory as overly broad and unduly burdensome as it is not tailored to the
subject matter of this lawsuit. Defendant further objects to this Interrogatory as it
seeks information that is not relevant nor reasonably calculated to lead to the
discovery of admissible evidence.

INTERROGATORY NO. 7:

Please provide all facts which you will rely in asserting that White Marlin, Agua,
Talco, and Torrent are not in breach of their obligations under the Day Rate Proposal,
executed on July 23, 2021, or Master Service Agreement, dated July 26, 2021, and
describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents



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of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”)

INTERROGATORY NO. 8:

Please provide all facts which you will rely in asserting that Couvillion “did not timely
perform under the Contracts because of gross incompetence.” Please also describe
each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
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U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,



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at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to and without waiving the foregoing, examples of gross incompetence include
but are not limited to the following:

   •   Couvillion roughly seven weeks to remove only 476 feet of steel pipe even
       though it originally represented that it would take 14 days to remove all of the
       steel pipe referenced in the Day Rate Proposal;
   •   Couvillion could not find the pipe it was supposed to remove;
   •   Couvillion did it furnish the equipment it needed to timely perform under the
       Contracts;
   •   Failed to timely provide 90 Foot Excavator;
   •   Hopper Barge not available when needed;
   •   3 point anchor system in pieces, not attached to winches;
   •   Pulling Unit, and safety cages not welded down;
   •   Pulling Barge was too small and was not operable;
   •   Second Truckable Tug not on site as required;
   •   Diamond saw with operator not on site as required;
   •   Equipment not rigged up and ready on day one of the mobe up;
   •   Anchors were not heavy enough and were deployed improperly;
   •   Replacement anchors were too heavy and were not able to deploy.

INTERROGATORY NO. 9:

Please provide all facts which you will rely in asserting that “the change in conditions
was not the driving force behind Couvillion’s complete failure to satisfy its
obligations.” Please also describe each and every document which supports this
assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies


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Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

INTERROGATORY NO. 10:

Please provide all facts which you will rely in asserting that “the ‘work’ Couvillion
performed in connection with the Contracts…was worth, at most, $341,612.” Please
also describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To



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respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to the foregoing, Couvillion should have been able to remove all 1260 feet of
pipe for $509,483 plus additional costs directly attributable to erroneous depth and
location data. Instead, Couvillion only removed roughly 25% of the job. $341,612
represents the top end of the value of any work performed by Couvillion. In fact, the
value of Couvillion’s work was roughly $127,370.75, which represents 25% of the
$509,483.

INTERROGATORY NO. 11:

Please identify each and every plan, schematic, and survey related to the A11 pipeline
which was provided to Couvillion by White Marlin, Agua, Talco, and/or Torrent,
and/or any agent(s) or representative(s) acting on their behalf, in addition to the date
each survey was provided to Couvillion, the identity of who performed the survey,
when each survey was conducted, and when White Marlin, Agua, Talco, and/or
Torrent first obtained the survey, and from whom it obtained any survey.

ANSWER: Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “plan, schematic, and survey.” Defendant further objects that this
Interrogatory appears to be aimed to harass Defendants. Couvillion knows what it
was provided.

To the extent Couvillion has questions about the origins of specific documents that it
believes fall in these categories, please provide a list of said documents and Defendant
will attempt to provide the requested information.




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INTERROGATORY NO. 12:

Please describe all documents, notes, logs, memoranda or diary maintained in
connection with any of your activities that concern or in any way relate to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects that this Interrogatory is overly broad and unduly
burdensome. Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “documents, notes, logs, memoranda or diary that concern or in any
way relate to the claims asserted by Couvillion.”

INTERROGATORY NO. 13:

Please state the names and addresses of each person known or reasonably felt by you
to be in possession of or having control of any document relevant to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects to this Interrogatory because it calls for speculation.
Subject to the foregoing, relevant documents may be possessed by White Marlin,
Couvillion, and Axis.

INTERROGATORY NO. 14:

Please state the names and addresses of each person known or reasonably felt by you
to be a witness to the trial of this case, whether expert or non-expert.

ANSWER:

 Richard Watson
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 1980 Post Oak Blvd., Ste. 2300
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 (713) 955-4019
 Pam Lewandowski
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Okbel Guillen
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Theo Matthews
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

      COUVILLION GROUP, LLC.,
                        Plaintiff,

         v.
      WHITE MARLIN OPERATING
      COMPANY LLC; AGUA                   Civil Action No. 4:22:cv-00908
      TRANQUILLO MIDSTREAM
      LLC; TALCO PETROLEUM
      LLC; TORRENT OIL, LLC; &
      NIGEL SOLIDA,

                        Defendants.


   AGUA TRANQUILLO’S OBJECTIONS AND ANSWERS TO PLAINTIFF
    COUVILLION GROUP, LLC’S FIRST SET OF INTERROGATORIES

TO:    Couvillion Group, LLC, by and through its attorneys of record, Patrick
       McShante, Danica Denny, Kathleen Rice, and Daniel Schwank, 1100 Poydras
       Street, Suite 3700, New Orleans LA 70163.

       Pursuant to the Federal Rules of Civil Procedure, Defendant Agua Tranquillo

Midstream, LLC serves these objections and answers to Plaintiff’s First Set of

Interrogatories.
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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                       By: /s/ Joseph W. Golinkin II
                                          Michael Cancienne
                                          State Bar No. 24055256
                                          Joseph W. (“Jeb”) Golinkin II
                                          State Bar No. 24087596
                                          1980 Post Oak Blvd., Ste. 2300
                                          Houston, Texas 77056
                                          713.955.4028
                                          713.955.9644 Facsimile
                                          mcancienne@jlcfirm.com
                                          jgolinkin@jlcfirm.com

                                      ATTORNEYS FOR DEFENDANTS


                          CERTIFICATE OF SERVICE

             I certify that on the 20th day of November, 2023, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                              /s/ Jeb Golinkin
                                              Joseph W. Golinkin II




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                              INTERROGATORIES

INTERROGATORY NO. 1:

Please provide the following information for White Marlin, Agua, Talco, and Torrent
Oil, LLC (“Torrent”):

      (1) The identity of each and every affiliate, subsidiary, and parent entity
          between January 1, 2019 and the present day;
      (2) The identity of each and every director, officer, and member with a financial
          interest between January 1, 2019 and the present day;
      (3) Each state or jurisdiction of incorporation and the date of incorporation in
          each state or jurisdiction;
      (4) The net worth of each; and
      (5) The address for each and every office.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 2:

Please identify by name and title each and every person employed by White Marlin,
Agua, Talco, and Torrent during the past five years and the dates of such
employment. Please also state which entity employed each person.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 3:

Please identify the accounting firm(s)/CPA that prepared financial documents, such
as tax returns or balance sheets, for White Marlin, Agua, Talco, and Torrent during
the past five years.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. The identity of
the accounting firms/CPAs that prepare Defendants’ financial statements are utterly




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irrelevant to the question of whether Couvillion performed the services for which it
seeks to be compensated.

INTERROGATORY NO. 4:

Please identify each and every bank account maintained by White Marlin, Agua,
Talco, and Torrent for the past five years, including the name of the financial
institution where the account is maintained and each account number.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);
Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007). Plaintiff alleges that Solida committed fraud by “knowingly
providing false information in order to induce Couvillion to agree to perform the work
at issue while at the same time knowing that neither Solida nor any of these
organizations had the resources to timely pay for the work.” (ECF 24 at Paragraph
XL.)

INTERROGATORY NO. 5:

Please identify each and every instance when funds were transferred between a bank
account maintained by the following entities during the past five years: White Marlin,
Agua, Talco, Torrent, or Nigel Solida. Please also describe each and every document,
ledger, or itemized account statement which evidences each payment.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);




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Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007).

INTERROGATORY NO. 6:

Please identify each and every payment made or received by White Marlin, Agua,
Talco, Torrent, or Nigel Solida arising or related to the removal of the A11 pipeline,
and please describe each and every document, ledger, or itemized account statement
which evidences each payment.

ANSWER: Defendant objects to this Interrogatory because it fails to describe the
information is seeks with reasonable particularity. Defendant objects to this
Interrogatory as overly broad and unduly burdensome as it is not tailored to the
subject matter of this lawsuit. Defendant further objects to this Interrogatory as it
seeks information that is not relevant nor reasonably calculated to lead to the
discovery of admissible evidence.

INTERROGATORY NO. 7:

Please provide all facts which you will rely in asserting that White Marlin, Agua,
Talco, and Torrent are not in breach of their obligations under the Day Rate Proposal,
executed on July 23, 2021, or Master Service Agreement, dated July 26, 2021, and
describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents



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of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”)

INTERROGATORY NO. 8:

Please provide all facts which you will rely in asserting that Couvillion “did not timely
perform under the Contracts because of gross incompetence.” Please also describe
each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
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to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,



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at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to and without waiving the foregoing, examples of gross incompetence include
but are not limited to the following:

   •   Couvillion roughly seven weeks to remove only 476 feet of steel pipe even
       though it originally represented that it would take 14 days to remove all of the
       steel pipe referenced in the Day Rate Proposal;
   •   Couvillion could not find the pipe it was supposed to remove;
   •   Couvillion did it furnish the equipment it needed to timely perform under the
       Contracts;
   •   Failed to timely provide 90 Foot Excavator;
   •   Hopper Barge not available when needed;
   •   3 point anchor system in pieces, not attached to winches;
   •   Pulling Unit, and safety cages not welded down;
   •   Pulling Barge was too small and was not operable;
   •   Second Truckable Tug not on site as required;
   •   Diamond saw with operator not on site as required;
   •   Equipment not rigged up and ready on day one of the mobe up;
   •   Anchors were not heavy enough and were deployed improperly;
   •   Replacement anchors were too heavy and were not able to deploy.

INTERROGATORY NO. 9:

Please provide all facts which you will rely in asserting that “the change in conditions
was not the driving force behind Couvillion’s complete failure to satisfy its
obligations.” Please also describe each and every document which supports this
assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies


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Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

INTERROGATORY NO. 10:

Please provide all facts which you will rely in asserting that “the ‘work’ Couvillion
performed in connection with the Contracts…was worth, at most, $341,612.” Please
also describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To



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respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to the foregoing, Couvillion should have been able to remove all 1260 feet of
pipe for $509,483 plus additional costs directly attributable to erroneous depth and
location data. Instead, Couvillion only removed roughly 25% of the job. $341,612
represents the top end of the value of any work performed by Couvillion. In fact, the
value of Couvillion’s work was roughly $127,370.75, which represents 25% of the
$509,483.

INTERROGATORY NO. 11:

Please identify each and every plan, schematic, and survey related to the A11 pipeline
which was provided to Couvillion by White Marlin, Agua, Talco, and/or Torrent,
and/or any agent(s) or representative(s) acting on their behalf, in addition to the date
each survey was provided to Couvillion, the identity of who performed the survey,
when each survey was conducted, and when White Marlin, Agua, Talco, and/or
Torrent first obtained the survey, and from whom it obtained any survey.

ANSWER: Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “plan, schematic, and survey.” Defendant further objects that this
Interrogatory appears to be aimed to harass Defendants. Couvillion knows what it
was provided.

To the extent Couvillion has questions about the origins of specific documents that it
believes fall in these categories, please provide a list of said documents and Defendant
will attempt to provide the requested information.




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INTERROGATORY NO. 12:

Please describe all documents, notes, logs, memoranda or diary maintained in
connection with any of your activities that concern or in any way relate to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects that this Interrogatory is overly broad and unduly
burdensome. Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “documents, notes, logs, memoranda or diary that concern or in any
way relate to the claims asserted by Couvillion.”

INTERROGATORY NO. 13:

Please state the names and addresses of each person known or reasonably felt by you
to be in possession of or having control of any document relevant to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects to this Interrogatory because it calls for speculation.
Subject to the foregoing, relevant documents may be possessed by White Marlin,
Couvillion, and Axis.

INTERROGATORY NO. 14:

Please state the names and addresses of each person known or reasonably felt by you
to be a witness to the trial of this case, whether expert or non-expert.

ANSWER:

 Richard Watson
 c/o Jordan, Lynch & Cancienne PLLC
 1980 Post Oak Blvd., Ste. 2300
 Houston, Texas 77007
 (713) 955-4019
 Pam Lewandowski
 c/o Jordan, Lynch & Cancienne PLLC
 1980 Post Oak Blvd., Ste. 2300
 Houston, Texas 77007
 (713) 955-4019




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Charles Robinson
c/o Jordan, Lynch & Cancienne PLLC
1980 Post Oak Blvd., Ste. 2300
Houston, Texas 77007
(713) 955-4019
Nigel Solida
c/o Jordan, Lynch & Cancienne PLLC
1980 Post Oak Blvd., Ste. 2300
Houston, Texas 77007
(713) 955-4019
Jason Holvey
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Colin Harris
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Okbel Guillen
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Timmy Couvillion
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Michael Roy
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Theo Matthews
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Manuel Booker
371 Walker Road
Po Box 344
Belle Chasse LA 70037
Albert Black
371 Walker Road
Po Box 344
Belle Chasse LA 70037




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Jaimie Colgin
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mluke@eagle-facilities.com
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Pete Cormier
Michael Cancienne
c/o Jeb Golinkin
Jordan, Lynch & Cancienne PLLC
1980 Post Oak Blvd., Suite 2300
Houston, TX 77007




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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

      COUVILLION GROUP, LLC.,
                         Plaintiff,

         v.
      WHITE MARLIN OPERATING
      COMPANY LLC; AGUA                    Civil Action No. 4:22:cv-00908
      TRANQUILLO MIDSTREAM
      LLC; TALCO PETROLEUM
      LLC; TORRENT OIL, LLC; &
      NIGEL SOLIDA,

                         Defendants.


       TALCO PETROLEUM, LLC’S OBJECTIONS AND ANSWERS TO
      COUVILLION GROUP, LLC’S FIRST SET OF INTERROGATORIES

TO:    Couvillion Group, LLC, by and through its attorneys of record, Patrick
       McShante, Danica Denny, Kathleen Rice, and Daniel Schwank, 1100 Poydras
       Street, Suite 3700, New Orleans LA 70163.

       Pursuant to the Federal Rules of Civil Procedure, Defendant Talco Petroleum,

LLC (“Talco”) serves these objections and answers to Plaintiff’s First Set of

Interrogatories.
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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                       By: /s/ Joseph W. Golinkin II
                                          Michael Cancienne
                                          State Bar No. 24055256
                                          Joseph W. (“Jeb”) Golinkin II
                                          State Bar No. 24087596
                                          1980 Post Oak Blvd., Ste. 2300
                                          Houston, Texas 77056
                                          713.955.4028
                                          713.955.9644 Facsimile
                                          mcancienne@jlcfirm.com
                                          jgolinkin@jlcfirm.com

                                      ATTORNEYS FOR DEFENDANTS


                          CERTIFICATE OF SERVICE

             I certify that on the 20th day of November, 2023, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                              /s/ Jeb Golinkin
                                              Joseph W. Golinkin II




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                              INTERROGATORIES

INTERROGATORY NO. 1:

Please provide the following information for White Marlin, Agua, Talco, and Torrent
Oil, LLC (“Torrent”):

      (1) The identity of each and every affiliate, subsidiary, and parent entity
          between January 1, 2019 and the present day;
      (2) The identity of each and every director, officer, and member with a financial
          interest between January 1, 2019 and the present day;
      (3) Each state or jurisdiction of incorporation and the date of incorporation in
          each state or jurisdiction;
      (4) The net worth of each; and
      (5) The address for each and every office.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 2:

Please identify by name and title each and every person employed by White Marlin,
Agua, Talco, and Torrent during the past five years and the dates of such
employment. Please also state which entity employed each person.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 3:

Please identify the accounting firm(s)/CPA that prepared financial documents, such
as tax returns or balance sheets, for White Marlin, Agua, Talco, and Torrent during
the past five years.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. The identity of
the accounting firms/CPAs that prepare Defendants’ financial statements are utterly




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irrelevant to the question of whether Couvillion performed the services for which it
seeks to be compensated.

INTERROGATORY NO. 4:

Please identify each and every bank account maintained by White Marlin, Agua,
Talco, and Torrent for the past five years, including the name of the financial
institution where the account is maintained and each account number.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);
Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007). Plaintiff alleges that Solida committed fraud by “knowingly
providing false information in order to induce Couvillion to agree to perform the work
at issue while at the same time knowing that neither Solida nor any of these
organizations had the resources to timely pay for the work.” (ECF 24 at Paragraph
XL.)

INTERROGATORY NO. 5:

Please identify each and every instance when funds were transferred between a bank
account maintained by the following entities during the past five years: White Marlin,
Agua, Talco, Torrent, or Nigel Solida. Please also describe each and every document,
ledger, or itemized account statement which evidences each payment.

ANSWER: Defendant objects to this Interrogatory as overly broad and unduly
burdensome as it is not tailored to the subject matter of this lawsuit. Defendant
further objects to this Interrogatory as it seeks information that is not relevant nor
reasonably calculated to lead to the discovery of admissible evidence. Where
Defendants bank has nothing to do with the question of whether Couvillion
performed the services for which it seeks to be compensated. Defendant further
objects that this discovery request is premature because this information is only
relevant in the unlikely event that Plaintiff actually prevails on the merits.
Mandeville v. Quinstar Corp., 109 Fed.App'x 191, 194 (10th Cir. 2004); MidAmerican
Dist, Inc. v. Clarification Tech., Inc., 807 F.Supp.2d 646, 664, 683 (E.D.K.Y. 2011);




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Higgins v. Journal Register Co., No. 3:06–cv–1446(AVC), 2007 WL 3124731. at *3
(D.Conn. Oct. 23, 2007).

INTERROGATORY NO. 6:

Please identify each and every payment made or received by White Marlin, Agua,
Talco, Torrent, or Nigel Solida arising or related to the removal of the A11 pipeline,
and please describe each and every document, ledger, or itemized account statement
which evidences each payment.

ANSWER: Defendant objects to this Interrogatory because it fails to describe the
information is seeks with reasonable particularity. Defendant objects to this
Interrogatory as overly broad and unduly burdensome as it is not tailored to the
subject matter of this lawsuit. Defendant further objects to this Interrogatory as it
seeks information that is not relevant nor reasonably calculated to lead to the
discovery of admissible evidence.

INTERROGATORY NO. 7:

Please provide all facts which you will rely in asserting that White Marlin, Agua,
Talco, and Torrent are not in breach of their obligations under the Day Rate Proposal,
executed on July 23, 2021, or Master Service Agreement, dated July 26, 2021, and
describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To
respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents



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of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”)

INTERROGATORY NO. 8:

Please provide all facts which you will rely in asserting that Couvillion “did not timely
perform under the Contracts because of gross incompetence.” Please also describe
each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
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U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
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respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
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1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,



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at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to and without waiving the foregoing, examples of gross incompetence include
but are not limited to the following:

   •   Couvillion roughly seven weeks to remove only 476 feet of steel pipe even
       though it originally represented that it would take 14 days to remove all of the
       steel pipe referenced in the Day Rate Proposal;
   •   Couvillion could not find the pipe it was supposed to remove;
   •   Couvillion did it furnish the equipment it needed to timely perform under the
       Contracts;
   •   Failed to timely provide 90 Foot Excavator;
   •   Hopper Barge not available when needed;
   •   3 point anchor system in pieces, not attached to winches;
   •   Pulling Unit, and safety cages not welded down;
   •   Pulling Barge was too small and was not operable;
   •   Second Truckable Tug not on site as required;
   •   Diamond saw with operator not on site as required;
   •   Equipment not rigged up and ready on day one of the mobe up;
   •   Anchors were not heavy enough and were deployed improperly;
   •   Replacement anchors were too heavy and were not able to deploy.

INTERROGATORY NO. 9:

Please provide all facts which you will rely in asserting that “the change in conditions
was not the driving force behind Couvillion’s complete failure to satisfy its
obligations.” Please also describe each and every document which supports this
assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies


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Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
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U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
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to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
discovery is almost complete.’” (quoting In re eBay Seller Antitrust Litig., No. C 07-
1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

INTERROGATORY NO. 10:

Please provide all facts which you will rely in asserting that “the ‘work’ Couvillion
performed in connection with the Contracts…was worth, at most, $341,612.” Please
also describe each and every document which supports this assertion.

ANSWER: Defendant objects to this Interrogatory because it is overly broad and
unduly burdensome. Interrogatories that demand that a party state or describe “all”
facts that support a cause of action or defense are improper. E.g. In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., No. CV14MD2542VSBSLC, 2020 WL
6290584, at *4 (S.D.N.Y. Oct. 27, 2020) (“The Court finds that these contention
interrogatories “are overly broad and unduly burdensome” insofar as they demand
that TreeHouse identify “all factual bases and Documents” for “each Customer or
potential Customer” TreeHouse claims to have lost.”); Ritchie Risk-Linked Strategies
Trading (Ir.), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(“[W]hile contention interrogatories are a perfectly acceptable form of discovery,
Defendants’ requests, insofar as they seek every fact, every piece of evidence, every
witness, and every application of law to fact . . . are overly broad and unduly
burdensome.” (citations omitted)); Gregg v. Local 305 IBEW, No. 1:08-CV-160, 2009
U.S. Dist. LEXIS 40761, at *16 (N.D. Ind. May 13, 2009) (“Gregg’s Interrogatory
encompasses virtually every factual basis for all of the Defendants’ contentions. To



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respond would be an unduly burdensome task, since it would require the Defendants
to produce veritable narratives of their entire case.” (citation omitted)); Lucero v.
Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) (“Contention interrogatories should not
require a party to provide the equivalent of a narrative account of its case, including
every evidentiary fact, details of testimony of supporting witnesses, and the contents
of supporting documents.”). Defendant further objects that this Interrogatory is
premature. See, e.g., SEC v. Berry, No. C07-4431 RMW (HRL), 2011 U.S. Dist. LEXIS
64437, at *6 (N.D. Cal. June, 15, 2011) (“‘[C]ourts tend to deny contention
interrogatories filed before substantial discovery has taken place, but grant them if
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1882 JF (RS), 2008 U.S. Dist. LEXIS 102815, at *4 (N.D. Cal. Dec. 11, 2008)));
Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 U.S. Dist. LEXIS 121902,
at *4 (E.D. Ark. Nov. 3, 2010) (“[A] number of district courts, including several in this
circuit, have determined that contention interrogatories need not be answered until
discovery is complete or nearing completion.”).

Subject to the foregoing, Couvillion should have been able to remove all 1260 feet of
pipe for $509,483 plus additional costs directly attributable to erroneous depth and
location data. Instead, Couvillion only removed roughly 25% of the job. $341,612
represents the top end of the value of any work performed by Couvillion. In fact, the
value of Couvillion’s work was roughly $127,370.75, which represents 25% of the
$509,483.

INTERROGATORY NO. 11:

Please identify each and every plan, schematic, and survey related to the A11 pipeline
which was provided to Couvillion by White Marlin, Agua, Talco, and/or Torrent,
and/or any agent(s) or representative(s) acting on their behalf, in addition to the date
each survey was provided to Couvillion, the identity of who performed the survey,
when each survey was conducted, and when White Marlin, Agua, Talco, and/or
Torrent first obtained the survey, and from whom it obtained any survey.

ANSWER: Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “plan, schematic, and survey.” Defendant further objects that this
Interrogatory appears to be aimed to harass Defendants. Couvillion knows what it
was provided.

To the extent Couvillion has questions about the origins of specific documents that it
believes fall in these categories, please provide a list of said documents and Defendant
will attempt to provide the requested information.




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INTERROGATORY NO. 12:

Please describe all documents, notes, logs, memoranda or diary maintained in
connection with any of your activities that concern or in any way relate to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects that this Interrogatory is overly broad and unduly
burdensome. Defendant objects to this Interrogatory because it is vague and fails to
identify the information it seeks with reasonable particularity insofar as it fails to
define or describe “documents, notes, logs, memoranda or diary that concern or in any
way relate to the claims asserted by Couvillion.”

INTERROGATORY NO. 13:

Please state the names and addresses of each person known or reasonably felt by you
to be in possession of or having control of any document relevant to the claims
asserted by Couvillion in the Complaint or the claims asserted by You in the
Counterclaim.

ANSWER: Defendant objects to this Interrogatory because it calls for speculation.
Subject to the foregoing, relevant documents may be possessed by White Marlin,
Couvillion, and Axis.

INTERROGATORY NO. 14:

Please state the names and addresses of each person known or reasonably felt by you
to be a witness to the trial of this case, whether expert or non-expert.

ANSWER:

 Richard Watson
 c/o Jordan, Lynch & Cancienne PLLC
 1980 Post Oak Blvd., Ste. 2300
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 (713) 955-4019
 Pam Lewandowski
 c/o Jordan, Lynch & Cancienne PLLC
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Michael Roy
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